        Case 8:18-cv-00883-PWG Document 177 Filed 04/02/20 Page 1 of 2




April 2, 2020

Hon. Paul W. Grimm
United States District Judge
6500 Cherrywood Lane
Greenbelt, MD 20770

       RE:      American Academy of Pediatrics, et al., v. FDA (No. 8:18-cv-883-PWG)

Dear Judge Grimm,

Plaintiffs write in response to Defendants’ letter describing their planned request for an
indicative ruling. Doc. No. 175. Given the unprecedented circumstances and all parties’ interest
in avoiding unnecessary litigation at this difficult time, Plaintiffs are not opposing Defendants’
motion, but would likely oppose requests for further similar relief.

That said, Plaintiffs do wish to register their concern with the length and breadth of the extension
Defendants propose. Plaintiffs understand FDA’s plan to be to exempt for an additional 120 days
all deemed products that were on the market before August 8, 2016 from the Tobacco Control
Act’s premarket authorization requirement, except for those prioritized for enforcement before
May 12, 2020 in Parts D.1 through D.3 of the January 2020 Guidance.1 This extension would
accommodate not only manufacturers that were genuinely working toward filing premarket
tobacco applications and substantial equivalence reports, but also those that never intended to file
applications, or planned to file entirely incomplete applications or reports simply to keep their
products on the market during FDA’s review. It also grants a delay without regard to whether a
manufacturer is now engaged in active research or laboratory analysis that has been disrupted,
and it ignores the fact that manufacturers have known for 4 years that these applications were
going to be due at some time. It would thus reward dilatory manufacturers engaged in avoidance
of their statutory obligations, where more targeted relief could prevent those manufacturers from
receiving a windfall exemption.

The 120-day extension allows the covered products to remain on the market without threat of
enforcement through September 9, 2020. Although Plaintiffs recognize that COVID-19 poses
unique issues, it seems premature to extend the exemption so far into the future at this time for

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  See FDA, “Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other
Deemed Products on the Market Without Premarket Authorization—Guidance for Industry”
(January 2020) at 18-27, https://www.fda.gov/media/133880/download.
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         Case 8:18-cv-00883-PWG Document 177 Filed 04/02/20 Page 2 of 2



this particular industry, especially in light of the fact that the products that are subject to the
review continue to be sold to consumers, and in particular young people.

These concerns are especially heightened because, according to the FDA itself, both e-cigarettes
and combustible cigarettes may increase the risk of serious complications from COVID-19.2
FDA’s extension results in the continuation and proliferation of products with unknown risks on
the market, in direct conflict with the Tobacco Control Act.

Accordingly, Plaintiffs would likely oppose further similar extensions, and, if further relief is
absolutely necessary, instead respectfully encourage FDA to limit any requested future relief to
manufacturers that can show that they would have been on track to file the relevant application
by May 12 but for the COVID-19 emergency and the restrictions that it has required.

                                                Respectfully submitted,

                                                   /s/ Jeffrey B. Dubner
                                                      Jeffrey B. Dubner




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  See, e.g., Anna Edney & Angelica LaVito, Vaping Could Compound Health Risks Tied to
Virus, FDA Says, Bloomberg, Mar. 27, 2020, https://www-bloomberg-
com.cdn.ampproject.org/c/s/www.bloomberg.com/amp/news/articles/2020-03-27/vaping-could-
increase-health-risks-tied-to-covid-19-fda-says.
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